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                                                                                     FILED
                                                                           CLERK, U.S. DISTRICT COURT
1     Richard Levon Caplan
2
      21706 Ventura Blvd.                                                   12/1/22
      Woodland Hills, CA 91364                                               cs
                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                           BY: ___________________ DEPUTY

3     (818) 564-7270
      rlcaplan@gmail.com
4     In Propria Persona
5                                UNITED STATES DISTRICT COURT
6                                CENTRAL CALIFORNIA DISTRICT
7
             RICHARD LEVON CAPLAN                     Case Number:
8                           Plaintiff                    CV22-8759-JWH(MRW)
                                                                          [
9                          vs.
10

11            THE HON. AARON FORD
                                                             COMPLAINT FOR NEGLIGENT
12             ATTORNEY GENERAL                                  VIOLATIONS OF:

13                 ON BEHALF OF                           1) ARTICLE IV § 1 OF THE
                                                             CONSTITUTION OF THE UNITED
14            THE STATE OF NEVADA                            STATES
15                         &                              2) ARTICLE IV § 2 OF THE
                                                             CONSTITUTION OF THE UNITED
16            JOHN (JANE) DOES 1 - 10                        STATES
17                                                        3) ARTICLE VI CLAUSE 2 OF THE
                                 Defendant(s)                CONSTITUTION OF THE UNITED
18                                                           STATES

19                                                        4) AMENDMENT XIV §1 OF THE
                                                             CONSTITUTION OF THE UNITED
20                                                           STATES
                                                          5) 42 U.S.C §1981(a) - EQUAL BENEFIT
21
                                                             CLAUSE - BY NEVADA STATE
22                                                           ACTOR(S)
                                                          6) 42 U.S.C. §1983 – CIVIL RIGHTS OF
23                                                           PLAINTIFF [(AND AZAD
24
                                                             ELIZABETH JOSEPH (DECEASED),
                                                             PLAINTIFF’S MOTHER)], BY
25                                                           NEVADA STATE ACTOR(S)
                                                          7) DECLARATORY RELIEF
26

27
                                                                  JURY TRIAL DEMANDED
28



                 EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

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1                                            NATURE OF CASE
2     1. The State of Nevada has violated the United States Constitution and other federal laws with
3        negligent disregard for the rights and protections guaranteed to Plaintiff, Richard Levon
4        Caplan, In Propria Persona, and the same and/or similar rights and protections guaranteed to
5        and shared with Plaintiff’s mother, Azad Elizabeth Joseph (deceased), citizens of the United
6        States:
7                                        JURISDICTION & VENUE
8     2. Plaintiff, Richard Levon Caplan was born at Cedars of Lebanon hospital in Los Angeles,
9        California on September 14, 1953, at 11:58 PM, to Azad Elizabeth Joseph and Russell
10       Bernard Caplan: {PE#1}
11    3. Richard Levon Caplan has been a permanent resident of Los Angeles, California since March
12       5, 2005. {PE#2}
13    4. This Court has jurisdiction of Plaintiffs’ federal law claims pursuant to 28 U.S.C. § 1331, as
14       this case involves questions of federal law.
15    5. This Court has supplemental jurisdiction over the related state law claims pursuant to 28
16       U.S.C. § 1367(a) because those claims form part of the same case or controversy under
17       Article III of the Constitution of the United States. Resolving Plaintiffs’ federal and state
18       claims in a single action serves the interests of judicial economy, convenience, consistency,
19       and fairness to the parties.
20    6. Plaintiff’s action is qualified under Nevada Revised Statues (NRS 41.031) - Waiver of State

21       Immunity- under Amendment XI of the Constitution of the United States and other federal

22       disqualifications of and/or exceptions to qualified and absolute state immunities - for

23       violations of established U.S. Constitutional decisions where such immunities might apply.

24                                      PLAINTIFF INTRODUCTION

25    7. Plaintiff’s maternal grandfather was Dikran Hovsepian. After escaping the Armenian

26       Genocide in 1915, he and his sister joined the flood of persecuted immigrants to the United

27       States. Their landing was diverted to Halifax, Canada, overflow for crowded American ports.

28       When finally entering the United States like so many others his Armenian name was


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1        “Americanized.” His name became Richard Joseph.
2     8. In 1917, Plaintiff’s maternal grandparents settled in Truckee, California as United States
3        citizens. At the time, the town of Truckee (formally Coburn Station) was owned by the
4        Union Ice Company of San Francisco, California. During the late 19th and early 20th
5        centuries, their business operation packed railcars containing perishable agricultural products
6        from central California with ice and snow to prevent spoilage of the shipments east by rail
7        through the Donner Pass region of the Rocky Mountains. The introduction of refrigerated rail
8        cars in late 1919 and early 1920’s caused the Union Ice Company to abandon their business
9        and the town of Truckee.
10    9. By 1930, Truckee had fallen into a desperate state of disrepair. Unaffected by the stock
11       market crash of October 29, 1929, Plaintiff’s grandfather, Richard Joseph, by then a self-
12       made businessperson and entrepreneur, decided to use his savings to buy the land owned by
13       the Union Ice Company.
14    10. In 1984, during a stroll around his business and homebase, the Gateway Motel (in present
15       day Truckee known as the Gateway Area) Plaintiff’s grandfather shared his frustration over
16       the Union Ice Company requiring him to make two trips to San Francisco before they
17       reached agreement in 1932. From then on, the threads of the Richard Joseph family were
18       wound onto the spindle weaving the fabric of the history of the State of California.
19    11. In 1922, Plaintiff’s maternal grandparents gave birth to their first child and only son, Levon
20       Joseph. Two years later they gave birth to twin daughters; Yvonne and Azad Joseph;
21       however, after the tortuous ordeal of giving birth to the second twin, Plaintiff’s grandmother
22       suffered from uncontrolled bleeding; at the time attributed to blood poisoning. The closest
23       healthcare facility was in Reno, Nevada. Although today the journey is approximately thirty
24       minutes by car, a century ago it took much longer over difficult roadways with inferior
25       vehicles. Plaintiff’s grandmother did not survive the journey and died at the hospital in Reno.
26    12. At the outbreak of direct involvement of the United States in World War II, Plaintiff’s
27       maternal uncle Levon Joseph enlisted in the US Army at the rank of Private. By 1944 he had
28       been promoted to 1st Lieutenant, leading his men during fierce fighting for Okinawa when he


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1        was K-I-A in late 1944. At the time of his death, the family did not receive notice from the
2        War Department until 1945. 1st Lt. Levon Joseph’s daughter, Plaintiff Richard Levon
3        Caplan’s eldest maternal first cousin, was eight months old. Victoria Ratcliff (nee: Joseph),
4        lives in Washington state. Her father, 1st Lt. Levon Joseph, was posthumously awarded the
5        Bronze Star.
6     13. Plaintiff’s given name Richard is for Plaintiff’s maternal grandfather Richard Joseph.
7        Plaintiff’s given second name Levon is for Plaintiff’s maternal uncle. If a newborn U.S.
8        Citizen’s mother’s family (maiden) name did not require a change in name, Plaintiff’s third
9        name would be legally recognized as Joseph. Plaintiff’s paternal surname is Caplan.
10       Plaintiff’s full name including maternal family name would be Richard Levon Joseph
11       Caplan. By providence both of Plaintiff’s maternal and paternal grandfathers’ names and
12       their family lines; Richard Joseph and Joseph Caplan, are represented within Plaintiff’s full
13       name.
14    14. Plaintiff’s parents were married in 1952. Custody of the only child of Azad Elizabeth Joseph
15       was granted to Plaintiff’s mother by divorce decree in 1955. {PE#3}
16    15. Plaintiff attended William Howard Taft Hight School for the first semester of 10th grade in
17       1968 on the January semester graduation track. The LAUSD converted from the
18       January/June semester graduation system to the annual grade level graduation system
19       beginning in September 1969.
20    16. While at Taft High School, Plaintiff joined the National Forensic League for Speech and
21       Debate, competingly with a partner in debate and individually in the oral and dramatic
22       interpretation categories. Our first debate season ended with an unblemished record. Plaintiff
23       won recognition in the oral interpretation category for “I Am the Nation” by Otto Whittaker
24       and “I Have a Dream” by Dr. Martin Luther King.
25    17. Plaintiff was selected to represent Taft High School during Boy’s Week in Government,
26       serving as City Clerk for the City of Los Angeles. Plaintiff received a Proclamation of thanks

27       from the City Council, signed by then City Clerk Rex Layton.

28    18. Plaintiff was invited, made application for consideration, and was selected in 1969 to become


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1        a member of the first student government of a new high school, El Camino Real High School
2        in Woodland Hills, California.
3     19. Plaintiff continued participation in speech and debate at El Camino Real High School along
4        with new student government responsibilities. Plaintiff was privileged to collaborate with
5        exceptional individuals in team environments within the student body and administrative
6        staff. The new school’s mascot was decided by the members of the first student government
7        with approval by the administration to be the “Conquistadores.”
8     20. Plaintiff can be seen dressed in period costume holding a raised sword shown and named in a
9        publicity photograph for the new school taken and published in 1969 by the Los Angeles
10       Times. The photograph is also published in El Corazon; the school’s first yearbook. In 1969
11       Plaintiff was again selected as a representative for Boy’s Week in Government serving as
12       District Attorney for Los Angeles County.
13    21. In 1970, Plaintiff was one of four young men from El Camino Real High School selected for
14       sponsorship by the American Legion to attend and take part in California Boy’s State in
15       Sacramento, California. Plaintiff is shown and named in a photograph commemorating the
16       event, published in the Los Angeles Times and the El Camino Real High School yearbook.
17    22. At the state capitol, after leaving then Governor Reagan’s office, Plaintiff recognized the
18       name of a largely unheralded woman on the nameplate next to an open office door. Her
19       signature appeared to the left of the portrait on every denomination of United States
20       currency; Ivy Baker Priest, Treasurer of California; former Treasurer of the United States
21       from 1953 to 1961. Plaintiff was invited into her office. The historical context of meeting a
22       member of the post-war Eisenhower administration was an unexpected highlight of the event.
23       Plaintiff intended to briefly offer recognition and appreciation. Plaintiff was allowed to ask
24       questions about President Eisenhower and his administration, given the context of his parting
25       comments amidst the cauldron of conflict in America and Southeast Asia in 1970. Plaintiff
26       left our meeting committed to pay forward her contributions and seek elected or appointed

27       office in the future.

28    23. In 2000, Plaintiff served the people of Frisco, Texas under sworn oath to preserve, protect


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1         and defend the Home Rule Charter of the City of Frisco, the Constitution of the State of
2         Texas, and the Constitution of the United States.
3     24. Plaintiff’s professional career included information movement and management assignments
4         with American Telephone & Telegraph (AT&T), Southwestern Bell (SBC), Siemens
5         Business Communications, Nortel and KPMG Consulting (BearingPoint). Assignments
6         included sales and marketing, competitive analysis which evolved into corporate intelligence
7         governed by the Economic Espionage Act of 1996, culminating with recruitment by and
8         employment as a senior global consultant with KPMG Consulting. The collapse of the entire
9         telecommunications sector in 2002 precipitated the actual beginning of the last recession,
10        erasing Plaintiff’s 401K savings and Nortel pension due to their Chapter 13 bankruptcy.
11    25. Plaintiff is the father of five children.
12                  NEVADA EIGHTH JUDICIAL DISTRICT, FAMILY DIVISION
13                                           CASE: # P-17-092901-E
14                     PROBATE OF THE AZAD ELIZABETH JOSEPH ESTATE
15    26. On April 18, 2018, a representative of W.C Cox of Arizona, a private investigative firm,
16        contacted Plaintiff about a fraudulent claim made against the estate of Azad Elizabeth
17        Joseph, Plaintiff’s mother, in a Nevada District Court by individuals using documents
18        notarized in Sacramento and Placer Counties, California on August 30, 2017.
19    27. These documents were filed with the Eighth Judicial District Court of Clark County, Nevada
20        on September 5, 2017:

21        PETITION FOR GENERAL ADMINISTRATION AND ISSUANCE OF LETTERS by

22        LENNY JORJORIAN and AFFIDAVIT OF CONSENT by MARGUERITE FOX AKA

23        MARGO FOX. {PE#4}

24    28. Plaintiff was shocked to discover Plaintiff’s mother died on July 20, 2017, having been

25        declared a Ward of the State of Nevada by the Eighth Judicial District Court, Family

26        Division, Clark County, on November 27, 2007. {PE#5} Plaintiff finally discovered why the

27        search for his mother over nearly two decades had failed. {PE#6}

28    29. On April 19, 2018, Plaintiff was contacted by Lee Cox, CEO of W.C. Cox of Arizona a


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1        private investigative firm. Mr. Cox told Plaintiff the probate case of the Azad Elizabeth
2        Joseph estate had been closed two weeks earlier, but Nevada law allowed sixty days to file a
3        motion to reopen. Plaintiff explained Social Security Early Retirement Benefit was Plaintiff’s
4        sole source of income therefore Plaintiff was not able to afford engagement of counsel.
5     30. Mr. Cox agreed to select and supply the legal counsel and co-administrator required by
6        Nevada law to reopen the probate case on behalf of Plaintiff in exchange for a percentage of
7        the recovered estate of $652,000. Plaintiff received a commitment from Mr. Cox the case
8        would continue beyond the District Court level should an appeal become necessary. Mr. Cox
9        engaged Mr. Lee Drizin, CHTD of Lee Drizin and Associates in Las Vegas, Nevada. Mr.
10       Lester Berman of the same firm also represented Plaintiff. Plaintiff authorized Mr. Drizin’s
11       representation. {PE#7} Although the court had released the estate and closed the case, {PE#8} Mr.
12       Drizin advised Plaintiff under Nevada law a probate case may be reopened if the claim is
13       alleged to be the product of an act of fraud within sixty days of the final order.
14    31. Plaintiff was instructed by Mr. Drizin’s to immediately supply proof of Plaintiff’s identity;

15       including birth certificate, U.S. Passport, California Driver License, (which also serves as

16       Plaintiff’s Federal Real ID), and an affidavit swearing to the fact Plaintiff is the only “Issue”

17       of Azad Elizabeth Joseph.

18    32. On May 9, 2018, Plaintiff’s first Motion to Reopen Probate of the Azad Elizabeth Joseph

19       estate was filed in the Eighth District Court, Clark County, Nevada. {PE#9} Plaintiff suspected

20       the guardianship and probate cases of Azad Elizabeth Joseph, Plaintiff’s mother, were

21       conjoined; however, Mr. Drizin declared inclusion of the guardianship case was outside the

22       scope of his remit.

23    33. On May 22, 2018, Mr. Drizin received a letter from Mr. Cary Colt Payne, CHTD, informing

24       him Lenny Jorjorian had retained his services to oppose Plaintiff’s Petition to Reopen

25       Probate. {PE#10}

26    34. Mr. Payne’s questions posed in said letter establishes probable cause NO PROCESS DUE

27       DILIGENCE was performed by Lenny Jorjorian nor by Marguerite Fox, aka Margo Fox,

28       prior to the filing of the Affidavit of Assignment and/or Petition for General Administration



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1        against the estate of Azad Elizabeth Joseph, Plaintiff’s mother, alleged violations of
2        Procedural and Substantive Due Process under decided Untied States Constitutional and
3        federal laws.
4     35. Margarette Yvonne (Joseph) Fox (the verified correct spelling of her name) was Plaintiff’s
5        first cousin by Albert and Yvonne (Joseph) Ring, brother-in-law and twin-sister of Azad
6        Elizabeth Joseph. Margarette (Snooky) Fox was Plaintiff’s first cousin. Plaintiff visited the
7        Ring’s Auburn, CA home with his mother on many occasions. Plaintiff was known to
8        Margarette (Snooky) Ring to Plaintiff’s personal knowledge. Her father, Plaintiff’s uncle
9        Albert Ring, taught Plaintiff how to fish. The Affidavit of Release filed in the Eighth Judicial
10       District Court attributed to a Marguerite Fox aka Margo Fox, creates reasonable probable
11       cause to suspect her identification was not personally verified by the California Notary
12       Public on August 30, 2017, as required by state law. The exhibit offered by Plaintiff’s is of
13       also evidentiary value as it calls into question the state of mind of Margarette Fox in the
14       years preceding her death on September 9, 2020.{PE#11}

15    36. The PETITION for GENERAL ADMINISTRATION of the estate of AZAD ELIZABETH

16       JOSEPH by LENNY JORJORIAN claiming the estate of Plaintiff’s mother for the benefit of

17       himself and his brother ARA JORJORIAN, based on the Affidavit by MARGUERITE FOX

18       a.k.a. MARGO FOX, was heard by Hearing Master Wesley Yamashita, Eighth Judicial

19       District, Family Division, Clark County, Nevada on September 29, 2017. The courts’

20       unchallenged acceptance of said documents disavowed as to accuracy, truthfulness, and

21       validity of any statements under California State law absent proof of process due diligence is

22       furtherance of a violation of Procedural Due Process against the estate of a Protected Person

23       and their lawful heirs under federal and state laws. {PE#12}

24    37. On May 25, 2018, Plaintiff’s Petition to Reopen was heard by Hearing Master Wesley

25       Yamashita who had allowed the filed documents notarized in California by Lenny Jorjorian

26       and Marguerite Fox a.k.a. Margo Fox to be admitted as evidence absent proofs of standing or

27       entitlements. Mr. Payne on behalf of Lenny Jorjorian, invoked Respondent’s right for the

28       matter to be heard by a District Court Judge over the objections of Plaintiff’s counsel, Mr.



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1        Drizin.{PE#13}
2     38. Plaintiff was notified by Mr. Drizin a hearing was set for August 1, 2018, before District
3        Court Judge William Voy, Eighth Judicial District Court, Family Division, Clark County,
4        Nevada. {PE#14}
5     39. Mr. Drizin filed a TRO to protect the estate of Azad Elizabeth Joseph, Plaintiff’s mother, and
6        a Motion for an Order Shortening Time for Plaintiff’s Petition to Reopen Probate of the Azad
7        Elizabeth Joseph Estate. Mr. Payne, Lenny Jorjorian’s counsel, filed opposition arguments to
8        the TRO claiming such an order was beyond the authority of the court. Mr. Payne also filed a
9        formal opposition to Plaintiff’s petition, primarily based on Plaintiff’s counsel’s use of the
10       word “mistakenly” instead of the word “fraud” in the description of the false claims made by
11       Lenny Jorjorian’s Petition for General Administration.
12    40. On August 1, 2018, the hearing was held before Eighth Judicial District Court Judge William
13       S. Potter. Plaintiff was informed by Mr. Berman after the hearing Judge William S. Potter
14       agreed a prima fascia case as to Plaintiff’s identity as the rightful heir had been made.{PE#15}

15    41. Judge William S. Potter reset the matter to August 14, 2018, to consider the arguments

16       opposing the TRO and the Motion for an Order Shorting Time. Plaintiff believed the court’s

17       allowance of Jorjorian’s continued opposition was in furtherance of a financial fraud and

18       Plaintiff’s rights under Nevada and federal laws.

19    42. Plaintiff neither explains nor defends Mr. Drizin’s failure to draw the courts’ attention to the

20       unreliability of the empowering “Affidavit” by Marguerite Fox aka Margo Fox. Specifically,

21       the declaration required by California law (CA Civ. Code §1189) which appears on the page

22       with the signature and seal of a Notary Public commissioned by the California Secretary of

23       State:

24           “A notary public or other officer completing this certificate verifies only the identity of

25           the individual who signed the document to which this certificate is attached, and not the

26           truthfulness, accuracy, or validity of that document.”

27    43. On August 13, 2018, Plaintiff received notice the hearing on the Motion to Reopen Probate

28       was scheduled for August 28, 2018. {PE#16}



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1    44. On August 13, 2018, Mr. Payne filed a motion in opposition to Plaintiff’s Petition to Reopen
2       Probate. Mr. Payne included a copy of a marriage license between Azad Elizabeth Joseph
3       and Donald Delos Keskeys in a clear attempt to confirm the false claim made in Lenny
4       Jorjorian’s PETITION FOR GENERAL ADMINISTRATION AND ISSUANCE OF
5       LETTERS which named Richard Keskeys as an Issue of Azad Elizabeth Joseph the product
6       of said marriage who died at the age of six. The court did not take notice of the conflict
7       between the belief by the court from the guardianship case of Azad Elizabeth Joseph the
8       alleged fact she had no descendants. Judge William S. Potter knew or should have known of
9       this incongruity of consanguinity. {PE#17}
10   45. Mr. Payne did not introduce the divorce decree between Azad Elizabeth Joseph and Donald
11      Delos Keskeys. Plaintiff received a copy of the divorce decree from a member of the
12      Keskeys family. According to the certificate of marriage produced by Mr. Payne, the
13      marriage between Donald Delos Keskeys and Azad Elizabeth Joseph, Plaintiff’s mother,
14      occurred on June 3, 1946. Mr. Payne did not present the decree of divorce dated September

15      3, 1946. The marriage lasted from June 3, 1946, until September 3, 1946; 92-days. No

16      children were born during the brevity of the marriage as evidenced by the decree of

17      divorce.{PE#18}

18   46. On August 14, 2018, Judge William S. Potter ruled a district court judge was unable to issue

19      a restraining order over a matter previously decided by the court therefore the TRO was

20      denied (no citation of law was referenced or attached) despite persuasive substantial,

21      credible, copious, statutes, juris prudence and exhibits offered by Mr. Berman in support of

22      protection of the estate so justice might be done. Although the Petition to Reopen the Probate

23      of the Azad Elizabeth Joseph Estate was not at issue before the court on August 14, 2018.

24      The arguments by Plaintiff’s counsel on the matters at law at issue scheduled to be heard

25      August 28, 2018, were not entertained or examined by the Court. Regardless, Judge William

26      S. Potter ruled no fraud had been committed by Lenny Jorjorian and quashed Plaintiff’s

27      hearing on the Petition to Reopen Probate of the Azad Elizabeth Joseph estate scheduled for

28      August 28, 2018. {PE#19}



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1    47. Neither Mr. Drizin nor the Court recognized the Petition by Lenny Jorjorian was based on the
2       Marguerite Fox Affidavit which was itself disavowed and highly likely fraudulent and which
3       Lenny Jorjorian’s counsel recognized in his filings but chose to ignore rather than
4       investigate. Mr. Payne proved recognition of Victoria Ratcliff as early as May 22, 2018, in
5       his own filings with the court. Mr. Payne did not identify Victoria Ratcliff as the daughter of
6       Levon Joseph, niece of Azad Elizabeth Joseph, the same degree of consanguinity as
7       Margarette Fox, compounding the violation of Process Due Diligence, thereby invalidating
8       the claim by Marguerite Fox as sole descendant of Azad Elizabeth Joseph empowered to
9       assign unilateral entitlements to anyone. {PE#20}
10   48. Despite assurances by Mr. Cox during the first conversation with Plaintiff, after Judge
11      William S. Potter denied the Petition to Reopen, Mr. Drizin notified Plaintiff he would file a
12      motion to withdraw as counsel of record. Plaintiff believes the compensation agreement
13      between Mr. Drizin and Mr. Cox was based on a percentage of the recovered estate of
14      $652,000. However, because of Nevada state law regarding Succession (NRS 134.100),

15      Plaintiff’s entitlement is one sixth, 16.66% or $108,623.00 shared equally with Plaintiff’s

16      five children thereby reducing the fees expected by Mr. Cox and Mr. Drizin by 90%.

17   49. As of September 18, 2018. Plaintiff was without counsel nor the financial resources to secure

18      alternate representation.

19   50. On October 12, 2018, Plaintiff filed an Appeal with the Supreme Court of Nevada, In Propria

20      Persona, within thirty days of Mr. Drizin’s notice to the court of his withdrawal as required

21      by the Nevada Rules of Appellate Procedure. Absent funds to engage competent

22      representation combined with repeated refusals by local, state, and federal agencies to

23      investigate, Plaintiff was instructed by the Clerk of the Supreme Court of Nevada a waiver

24      fees required submission of a Petition for In Forma Pauperis status with the Eighth Judicial

25      District Court. Plaintiff was informed the order from the District Court was required within

26      thirty days. {PE#21}

27   51. Plaintiff asked the Clerk of the Eighth Judicial District Court for directions on the forms

28      needed to file for IFP status and the threshold of qualifying income levels. Plaintiff was



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1       directed to a website URL wherein multiple versions of said form templates were found
2       Plaintiff was informed the State of Nevada had no such schedule of qualification. Absent
3       other specific direction Plaintiff executed an Affidavit and Financial Disclosure Form.
4    52. On October 13, 2018, Plaintiff filed for In Forma Pauperis status with the Eighth Judicial
5       District Court, Clark County, Nevada. {PE#22}
6    53. On October 23, 2018, Plaintiff contacted the Clerk of the Eighth Judicial District for status
7       update. Plaintiff was informed the Court’s process for IFP motions was assignment to
8       Department Q. The process would take approximately 4 weeks. A special phone number was
9       provided for automated follow up.
10   54. On November 14, 2018, Plaintiff sent a Motion for In Forma Pauperis status directly to the
11      Clerk of the Nevada Supreme Court. because of Plaintiff’s Motion before the Eighth Judicial
12      District was decided by the Law Clerk of Judge William S. Potter. Plaintiff later learned
13      Judge William S. Potter’s court as a matter of policy did not file unsigned orders. An Order
14      denying Plaintiff’s Motion for IFP status by Judge William S. Potter was not issued and

15      therefore never filed with the Clerk of the Court. {PE#23}

16   55. On December 4 & 5, 2018, Plaintiff exchanged email messages with the Law Clerk to the

17      Honorable Bryce C. Duckworth, Eighth Judicial District Court of Nevada, Family Division -

18      Department Q. {PE#24}

19   56. On December 6, 2018, Plaintiff contacted the Law Clerk of Judge William S. Potter about

20      Plaintiff’s Motion for IFP status. The Law Clerk claimed to have sent Plaintiff her rejection

21      of Plaintiff’s Motion, along with the “correct” forms on November 8, 2018. Plaintiff

22      informed the Law Clerk no such mailing from her court had been received nor was there any

23      record of delivery by the USPS Informed Delivery service. The Law Clerk of Judge William

24      S. Potter said the documents she was resending had to be completed and returned by

25      December 31, 2018.

26   57. The Postmark on the envelope Plaintiff received from the Law Clerk of Judge William S.

27      Potter, Eighth Judicial District Court containing the November 8, 2018, memorandum and

28      her required forms is December 12, 2018.{PE#25}



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1    58. Plaintiff’s Affidavit in support of the Motion for IFP status submitted on October 13, 2018,
2       was stamped “filed” by the Clerk of the Eighth Judicial District on four different dates. The
3       Financial Disclosure Form, submitted simultaneously, bears a single date stamp. {PE#26}
4    59. On December 17, 2018, the Clerk of the Supreme Court of Nevada transmitted an Order to
5       the Eighth Judicial District demanding a filed Order by the District Court be transmitted to
6       Clerk of the Supreme Court of Nevada office within 30 days on Plaintiff’s Motion for In
7       Forma Pauperis status. {PE#27}
8    60. On December 19, 2018, Respondent’s counsel, Mr. Payne filed a Motion with the Clerk of
9       the Supreme Court of Nevada opposing Plaintiff’s Motion for IFP Status for the case on
10      appeal because Plaintiff did not make said request of the District Court when Plaintiff was
11      represented by Mr. Drizin. {PE#28}
12   61. On December 27, 2018, Plaintiff submitted a new Motion for IFP with the Eighth Judicial
13      District, Clark County, Nevada via USPS Priority Mail, using the forms received, which
14      included the same Financial Disclosure Form previously filed and a 5-page Motion and

15      Order Form set not listed on the Nevada Eighth Judicial District Forms available online but

16      confirmed by the Clerk of the Court as those typically used by the Eighth Judicial District

17      Court. {PE#29}

18   62. The USPS attempted delivery on December 29, 2018; however, no one was available to

19      accept. The USPS recorded delivery as 7:17 AM on December 31, 2018. {PE#30}

20   63. On December 31, 2018, at 10:57 AM Judge William S. Potter filed an order which denied

21      Plaintiff’s motion for IFP status. Plaintiff’s documents, stamped received on December 31,

22      2018, at 7:17 AM by the Clerk of the Court, were not transmitted to Judge Potter’s court until

23      January 2, 2019. {PE#31}

24   64. On January 8, 2019, Judge William S. Potter filed another Order denying Plaintiff IFP status

25      with the Clerk of the Eighth Judicial District. The Order stated Plaintiff’s resubmission of a

26      Motion for IFP status was the basis for said Order., although no submission other than

27      December 31, 2018, had been made by Plaintiff. {PE#32}

28   65. On January 9, 2019, the Order by Judge William S. Potter denying Plaintiffs’ IFP petition



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1       was entered into the record of the case on appeal by the Clerk of the Nevada Supreme Court.
2       {PE#33}


3    66. On January 11, 2019, Plaintiff was ordered to file an order from the District Court granting
4       IFP status or pay requisite filing fee within 30 days. {PE#34}
5    67. On February 11, 2019, Plaintiff filed a Motion to Set Aside Denial of IFP Status and Grant
6       Said Motion for IFP Status with the Clerk of the Supreme Court of Nevada. Plaintiff ‘s cited
7       ESCOBEDO v. APPLEBEES, 787 F.3d 1235, (9th Cir. 2015), as superior juris prudence
8       directly on point to Appellant’s Motion for In Forma Pauperis status: {PE#35}
9           “In this case, the $350 fee represented roughly forty percent of Escobedo's monthly
10          income before expenses. Once her rent and debt payments were taken into account, she
11          would have had to dedicate the entirety of two-months' worth of her remaining funds,
12          meaning that she would have to forego eating during those sixty days, to save up to pay
13          the filing fee.
14          As noted above, there is no formula set forth by statute, regulation, or case law to

15          determine when someone is poor enough to earn IFP status. Whatever the standard, $350

16          is a lot of money to many millions of Americans. A person working full-time at a

17          minimum wage job will, with the normal deductions, likely take home less than $350 in a

18          typical forty-hour week.”

19          As published by the United States Court of Appeals, Ninth Circuit, June 4, 2015.

20   68. On April 5, 2019, Plaintiff’s motion was denied because, “appellant has not established he is

21      indigent.” {PE#36}

22   69. Plaintiff’s October 13, 2018, filing for IFP status with the Eighth Judicial District Court

23      reported a gross income of $479 per week, below California minimum wage. The Nevada

24      Supreme Court did not regard any of the arguments of law set forth by Plaintiff nor the

25      comments made in the cited case by the U.S. 9th Circuit Court of Appeals.

26   70. On April 15, 2019, Plaintiff paid the filing fee of $250.00. Plaintiff could not allow the case

27      to fail because under the Nevada law of Succession (NRS 134.100), Plaintiff’s children are

28      equally entitled beneficiaries. Consequently, Plaintiff fell behind in residential rent payments.



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1    71. On May 9, 2019, Mr. Payne filed a Motion in the Nevada Supreme Court demanding a $500
2       Cost Bond paid by Plaintiff. Knowing of Plaintiff’s precarious financial status based on
3       Plaintiff’s IFP filing, Plaintiff alleges Mr. Payne’s used procedural method to force dismissal
4       of the appeal. {PE#37}
5    72. On June 3, 2019, Plaintiff Opposition to Respondent’s Motion for Appellant Cost Bond in
6       the Nevada Supreme Court was filed. Plaintiff pointed to the waiver of cost bond granted to
7       Lenny Jorjorian in response to his request in his Petition for General Administration and
8       Letters of Administration of Plaintiff’s mother’s estate for Jorjorian’s financial benefit and of
9       his brother Ara Jorjorian. {PE#38}
10   73. On June 14, 2019, Plaintiff’s motion for waiver of cost bond was denied by the Nevada
11      Supreme Court without prejudice. Plaintiff was ordered to produce a waiver of the cost bond
12      by the District Court or post the $500 bond. { PE#39}
13   74. On June 21, 2019, Mr. Payne filed an Opposition to Waiver of Cost Bond in the Eighth
14      Judicial District Court. {PE#40}

15   75. On July 16, 2019, Plaintiff filed for waiver of cost bond with the Nevada Supreme Court due

16      to failure by the Eighth District Court to issue an Order required by Nevada Rules of

17      Appellate Procedure; Rule 7(b). {PE#41}

18   76. On August 7, 2019, the Nevada Supreme Court again issued an order allowing Judge

19      William S. Potter, Eighth Judicial District Court an additional thirty days to file the proper

20      order with the Supreme Court within 7 days of filing said order. {PE#42}

21   77. On August 23, 2019, said Order was filed with the Clerk of the Nevada Supreme Court 16

22      days later. {PE#43}

23   78. The order(s) by Judge William S. Potter lacked any reference to legislative intent or state

24      juris prudence, specifically on the use of a word versus a description of the actions of a

25      qualifying violation as intended by the Nevada legislature. The pattern of denial of Plaintiff’s

26      rights of Procedural and Substantive Due Process under XIV §1 of the Constitution of the

27      United States and the interstate nature of an alleged obvious interstate financial fraud after

28      acknowledgement on August 1, 2018, of Plaintiff as Issue and heir of Azad Elizabeth Joseph,



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1       raised concerns regarding the motives of Judge William S. Potter prejudice for the lack of
2       consideration in Plaintiff’s counsel’s and Plaintiff’s independent arguments in his decisions.
3    79. Plaintiff applied the training, knowledge and experience acquired over five decades as a
4       private citizen, corporate intelligence officer and legislative public servant to drill down to
5       the core matter of law at issue with the entire performance of the State of Nevada on the
6       constitutional rights and privileges guaranteed to Azad Elizabeth Joseph and Plaintiff.
7    80. Absent access to Lexis/Nexus, Plaintiff searched via Google Scholar for similar case
8       decisions by Judge William S. Potter and discovered Judge William S. Potter had been
9       severely disciplined by the Nevada Judicial Commission on November 22, 2017. The NVJC
10      analysis of Judge Potter’s behavioral issues including the dates and penalties imposed by the
11      NVJC are significant regarding the entirety of Plaintiff’s case in the Eighth Judicial District
12      Court and the Nevada Supreme Court appellate process. {PE#44}
13   81. On August 15, 2014, Governor Brown of California signed SB 1050 into law, the effect of
14      which changed the California Civil Code and California Government Code limiting the

15      duties and authorities of a Notary Public Commission issued by the California Secretary of

16      State. {PE#45}

17   82. Plaintiff researched juris prudence, scholarly publications and published court documents

18      regarding Article IV §1 and Article IV §2 of the Constitution of the United States and the

19      statutes and juris prudence there under. Plaintiff verified under the Full Faith and Credit

20      Clause the documents notarized under the authority of the California Secretary of State,

21      executed in the State of California, are governed by the laws of the State of California even if

22      documents executed in California are filed in another state. Article IV §1 of the Constitution

23      of the United States is the governing law of the land as defined by the United States Supreme

24      Court.

25   83. The Eighth Judicial District Court and the State of Nevada failed to demand proofs of

26      standing for the alleged entitlements based on the disavowed claims made within the

27      PETITION FOR GENERAL ADMINISTRATION AND ISSUANCE OF LETTERS by

28      LENNY JORJORIAN and the AFFIDAVIT OF CONSENT by MARGUERITE FOX a.k.a.



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1       MARGO FOX as notarized in the State of California under CA Civ. Code §1189 and CA
2       Gov. Code §8202. Plaintiff further verified with a Supervisory Investigator for the California
3       Secretary of State, Notary Division; both California Notaries Public whose signature and seal
4       appear on the documents filed by Lenny Jorjorian and Marguerite Fox a.k.a. Margo Fox
5       violate CA Civ. Code §1185 making the seal and signatures of both documents invalid under
6       California law.
7    84. On September 11, 2019, Plaintiff filed two Motions with the Nevada Supreme Court: {PE#46}
8           a.     Motion to Waive Requirement for Cost Bond with the District Court based on the
9                  District Court’s failure to abide by the Nevada Rules of Appellate Procedure for
10                 the second time by not filing Orders with the Clerk of the Court as required by
11                 state law.
12          b.     Motion For Summary Judgement to Vacate All Judicial Proceedings, Orders and
13                 Actions by the Eighth Judicial District Court for Violation of Article IV §1 of the
14                 Constitution of the United States. Plaintiff’s basis was the failure of the Eighth

15                 Judicial District Court to recognize and abide by the express limitations of the

16                 duties of a Notary Public commissioned by the California Secretary of State.

17   85. On September 17, 2019, Mr. Payne filed a Motion Opposing Waiver of Cost Bond with the

18      Supreme Court of Nevada. {PE#47}

19   86. On October 10, 2019, both of Plaintiff’s Motions filed September 11, 2019, were denied by

20      the Supreme Court of Nevada. {PE#48}

21   87. Plaintiff discovered the SCOTUS overturned Nevada v Hall (440 US 410) in May of 2019 by

22      Franchise Tax Board of California v Hyatt I & II (578 US 171 (138 S. Ct. 2710 & No. 17-

23      1299)). In Franchise Tax Board of California v Hyatt, the Court addressed issues of State

24      Sovereignty which had been decided in 1979 by Nevada v Hall. Nevada v Hall addressed the

25      affirmation, intent, and definition of Article IV §1. The Court’s decision in 2019 further

26      defined the Full Faith and Credit Clause in Franchise Tax Board of California v Hyatt

27      (Harvard Law Review vol. 130:317 pg. 317-326). Plaintiff argues Franchise Tax Board of

28      California v Hyatt strengthens the definition of Article IV §1, the Full Faith and Credit



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1       Clause, in this and all similar cases filed in the State of Nevada and the several states.
2    88. In September 2018, Plaintiff filed formal complaints with the US Attorney for the District of
3       Nevada and the Sacramento Sheriff’s Department. The US Attorney, Dale Eliason, did not
4       respond despite repeated follow-up attempts. The Sacramento Sheriff’s Department refused
5       to accept the report. Plaintiff has also contacted the Nevada County District Attorney, the
6       FBI and the Attorney General of Nevada.
7    89. Plaintiff sent a written complaint to the Honorable Xavier Becerra, then Attorney General of
8       California. Plaintiff’s request to AG Becerra was filtered by the California Attorney
9       General’s Public Inquiry Unit. Their response stating the California Attorney General’s
10      office does not investigate estate or probate complaints violates the United States
11      Constitutional principles of Law and Equity and the duties of the Attorney General of
12      California specified in Article V §13 of the Constitution of California to protect the sovereign
13      laws of the state.
14   90. On October 14, 2019, Plaintiff contacted the Clerk of the Nevada Supreme Court about

15      Plaintiff’s intent to file a Writ of Mandamus because Plaintiff’s prior Motion for Summary

16      Judgement was procedurally denied without addressing the United States Constitutional laws

17      at issue raised in said Motion. Plaintiff believed the State of Nevada, having been the moving

18      and losing litigant in Nevada v Hall would have regard for the decision by the SCOTUS, in

19      particular the definition of Article IV §1. Plaintiff was advised by the Clerk Representative;

20      the fee for the Writ was covered by the filing fee for the appeal because the Writ was related

21      to the case on appeal.

22   91. On October 28, 2019, Plaintiff’s Emergency Writ of Mandamus was received by the Clerk of

23      the Supreme Court of Nevada with a filed stamp dated October 29, 2019. The Article IV §1

24      Constitutional argument of law at issue was cited as qualified En Banc grounds for the Writ

25      because Nevada had failed to address the Article IV argument as grounds to vacate all prior

26      proceedings of the Eighth Judicial District, Family Division related to the probate of the

27      estate of Azad Elizabeth Joseph, Plaintiff’s mother. As to format and content, Plaintiff

28      constructed the Writ in precise accordance with Nevada Rules of Appellate Procedure. {PE#49}



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1    92. Contrary to prior instruction Plaintiff paid a $250.00 filing fee for the Writ of Mandamus
2       despite assurances made prior to submission on October 14, 2019.
3    93. Plaintiff, a Propria Persona litigant, was unable to expand the scope of parties to include
4       Plaintiff’s five children, entitled co-equal beneficiaries under Nevada State Law of
5       Succession (NRS 134.100) or the constituency of potential similarly affected citizens of the
6       United States as residents of the State of Nevada.
7    94. Plaintiff submits persuasive probable cause exists for an order of Audit of criminal and civil
8       judgements made in each independent Nevada Judicial District for identical and/or
9       substantially similar cases since August 15, 2014, litigated in any Nevada District Court,
10      wherein notarized documents executed in California were relied upon as the sole or primary
11      evidence in the disposition of said matters.
12   95. Plaintiff warrants the Audit will find similar underpinning violations of Franchise Tax Board
13      v Hyatt within multiple Nevada Judicial Districts. Plaintiff’s analysis revealed the
14      weaknesses of the independent, non-hierarchal structure Nevada District Court system

15      combined with the requirement for each District to fill and maintain a full-time position for

16      training and research on behalf of each District’s judicial officers exposes each District to

17      similar violations. Plaintiff found this position advertised as vacant for over 12 months in the

18      Eighth Judicial District of Nevada alone.

19   96. On December 31, 2019, a Notice of Transfer to Court of Appeals was executed by Lucy

20      Lupenui, Chief Deputy Clerk, stating the Writ was assigned to the Nevada Court of Appeals.
        {PE#50}
21

22   97. This document was never received by Plaintiff, nor is there a record of Informed Delivery of

23      same by the USPS. Because of the holiday and the decision by the Court to mail Notice of

24      Transfer by USPS, Plaintiff could not have received said Notice within the 3-day notice

25      requirement under Nevada law; made moot by the Order of Denial of the Emergency Writ of

26      Mandamus filed by the Nevada Court of Appeals on January 3, 2020. {PE#51}

27   98. On January 6, 2020, Plaintiff’s appeal of the ruling by Judge William S. Potter of the Eighth

28      Judicial District Court, Family Division, about Plaintiff’s petition to reopen the probate case



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1       for cause was dismissed for failure to pay the $500 Cost Bond. {PE#52}
2    99. On January 27, 2020, Plaintiff’s Petition for Review by the Nevada Supreme Court of the
3       Order of Denial of Plaintiff’s Emergency Writ of Mandamus by the Nevada Court of Appeals
4       was filed by the Clerk of the Court. {PE#53}
5    100.   After our first phone conversation in early February, Plaintiff wrote to the First Assistant
6       US Attorney for the District of Nevada, Christopher Baker. Plaintiff wrote again on
7       September 9. 2020. On our second and final conversation after occurred after his receipt of a
8       copy of the Writ of Mandamus, Mr. Baker said his office would not pursue the matter at that
9       time. Mr. Baker said he had read Plaintiff’s submission. He did not give any indication the
10      logic of the complaint in the Writ was invalid.
11   101.   On March 4, 2020, the Nevada Supreme Court denied Plaintiff’s Petition for Review
12      without comment. {PE#54}
13                NEVADA EIGHTH JUDICIAL DISTRICT, FAMILY DIVISION
14                                       CASE: # G-07-031431-A

15              GUARDIANSHIP OF AZAD ELIZABETH JOSEPH (DECEASED)

16   102.   Azad Elizabeth Joseph, Plaintiff’s mother, was ordered a Ward of the State of Nevada on

17      November 27, 2007.

18   103.   Plaintiff received the 579-page guardianship case file of Azad Elizabeth Joseph in 2019

19      after sending proof of identity and payment of required records fees with the Eighth Judicial

20      District Records Department. Due to Plaintiff’s forced In Propria Persona self-representation

21      during the opposed probate case and appeal from 2018 through 2020, Plaintiff did not

22      complete a full and comprehensive review of the entire Azad Elizabeth Joseph guardianship

23      case file until the summer of 2021.

24   104.   On page 566 of said case file, Judge William S. Potter of the Eighth Judicial District,

25      Family Division, on behalf of the State of Nevada, is the presiding judge over the state

26      guardianship case of Azad Elizabeth Joseph, Plaintiff’s mother, beginning on or before

27      March 29, 2017.

28   105.   Plaintiff warrants to the Court throughout the entire guardianship case file of Azad



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1       Elizabeth Joseph there is no indication of any effort by the State of Nevada, or any party
2       empowered by the State, to ensure Process Due Diligence was performed by the guardian,
3       guardian’s counsel, or any other party to determine consanguinity, nor did the court demand
4       or receive any such investigative report. As a matter of record the Guardian, Susan Hoy,
5       represented by counsel, Kimberly Boyer, swore under penalty of lying under oath to the
6       court; Azad Elizabeth Joseph, the Plaintiff’s mother, had no descendants.
7    106.   On March 9, 2017, counsel for the guardian of Azad Elizabeth Joseph filed NOTICE OF
8       HEARING ON NINTH ANNUAL ACCOUNTING, PETITION FOR FEES. On March 14,
9       2017, counsel for the guardian of Azad Elizabeth Joseph filed a NOTICE OF MAILING to
10      parties of interest. LENNY JORJORIAN and ARA JORJORIAN are named in the
11      MAILING MATRIX. Their names do not appear on the First through the Eighth Annual
12      Accounting Notice Mailing Matrix from 2007 through 2016 inclusive.
13   107.   On March 29, 2017, the Court Minutes of the hearing on the Ninth Annual Accounting,
14      Judge William S. Potter presiding, lists under PARTIES the following: “Parties Receiving

15      Notice, Other, not present.” Court records show Judge William S. Potter had knowledge of or

16      the appearance of knowledge of LENNY JORJORIAN and ARA JORJORIAN at least as

17      early as of March 29, 2017.

18   108.   On October 4, 2017, Counsel for the guardian of Azad Elizabeth Joseph, Plaintiff’s

19      mother, filed TENTH AND FINAL ACCOUNTING; PETITION FOR FEES AND FINAL

20      DISTRIBUTION; PETITION FOR DISCHARGE OF GUARDIAN AND FOR CASE

21      CLOSURE. Item 12 within said Petition states, “That, upon the appointment of a personal

22      representative of the estate of AZAD E. JOSEPH, all remaining assets of the estate shall be

23      released to the court-appointed Personal Representative of the Estate of AZAD E. JOSEPH,

24      to be administered according to law.”

25   109.   Judge William S. Potter tried to close the guardianship case on October 25, 2017;

26      however, his order did not become final because he was suspended from the bench for two

27      months without pay by the Nevada Judicial Commission effective on November 22, 2017.

28   110.   On December 8, 2017, the guardianship case of Azad Elizabeth Joseph was closed by



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1       Judge J. Charles Thompson, AG.
2    111.   The Eighth Judicial District Court did not appoint a Personal Representative as required
3       by Nevada law to protect the estate of Azad Elizabeth Joseph (deceased) a Protected Person
4       ordered by the Eighth Judicial District Court on December 8, 2017. The State of Nevada
5       negligently failed in its duty to protect the estate of Azad Elizabeth Joseph as a condition of
6       the discharge of the guardian. If the State had ordered said appointment as ordered on
7       December 8, 2017, the Personal Representative would have been in place to stand for the
8       interests of the estate before the Eighth Judicial District, Family Division Probate Court
9       potentially alleviating or eliminating the unlawful, emotionally distressing saga of the loss of
10      mother and son.
11   112.   The absence of strict scrutiny protecting the rights, privileges and affairs of Azad
12      Elizabeth Joseph, Plaintiff’s mother, a citizen of the United States, where the State of Nevada
13      established a custodial special relationship with Plaintiff’s mother by declaring her a Ward of
14      the State resulted in the unwarranted exposure of Azad Elizabeth Joseph and her sole Issue to

15      violations of guaranteed protected federal and state laws, privileges, rights and entitlements

16      to Azad Elizabeth Joseph and Plaintiff.

17   113.   Within the guardianship file of Azad Elizabeth Joseph, Plaintiff discovered

18      overwhelming probable cause that the parties involved in the probate claim to the estate of

19      Azad Elizabeth Joseph, Plaintiff’s mother, (Lenny Jorjorian and Marguerite Fox a.k.a. Margo

20      Fox, for the benefit of Lenny Jorjorian and Ara Jorjorian) were collectively involved in

21      premeditated violations of federal and state laws interlocking the cases involving Azad

22      Elizabeth Joseph and Plaintiff associated with these actors and others.

23   114.   Plaintiff has prepared and requests the Court allow delivery of an Investigative Report in

24      chambers in the presence of opposing counsel(s) for determination by the Court if the report

25      should be received under seal pending an Order of the Court for investigation by the US

26      Attorney and where the threshold of reasonable doubt is met, to prosecute the offenders to

27      protect the Constitution of the United States and the legacies built by generations of

28      American citizens.



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1    115.   The prejudices by the State of Nevada towards Plaintiff’s legal arguments under the
2       Supremacy Clause regarding the Full Faith & Credit Clause represents a negligent
3       miscarriage of justice because the State of Nevada was the moving and losing litigant in
4       Nevada v Hall (440 US 410) wherein the Court clearly articulated the foundation of the Full
5       Faith and Credit Clause, the foundation of which was remains in Franchise Tax Board of
6       California v Hyatt (139 S.Ct. 1485 (2019):
7           “The Full Faith and Credit Clause does require each State to give effect to official acts of
8           other States. A judgment entered in one State must be respected in another provided that
9           the first State had jurisdiction over the parties and the subject matter. Moreover, in certain
10          limited situations, the courts of one State must apply the statutory law of another State.
11          Thus, in Bradford Electric Co. v. Clapper (286 U. S. 145), the Court held that a federal
12          court sitting in New Hampshire was required by the Constitution to apply Vermont law in
13          an action between a Vermont employee and a Vermont employer arising out of a contract
14          made in Vermont. But this Court's decision in Pacific Insurance Co. v. Industrial

15          Accident Comm'n (306 U.S. 493), clearly establishes that the Full Faith and Credit

16          Clause does not require a State to apply another State's law in violation of its own

17          legitimate public policy.”

18          "Full faith and credit," this Court concluded, "does not here enable one state to legislate

19          for the other or to project its laws across state lines so as to preclude the other from

20          prescribing for itself the legal consequences of acts within it."

21   116.   The Department of Justice prosecuted 19 cases of guardianship fraud through 2016,

22      resulting in sweeping changes in Nevada’s Guardianship Laws. However, despite the efforts

23      of Plaintiff, a multimillion-dollar guardianship fraud case escaped the attention of the State of

24      Nevada due to negligence and apathy by the US Department of Justice.

25   117.   On July 10, 2021, convinced Plaintiff’s due process, equal justice and civil rights had

26      been violated and constitutional arguments ignored by Judge William S. Potter, Plaintiff

27      decided to file a complaint with the Nevada Judicial Commission. When verifying Judge

28      William S. Potters’ continued service in the Eighth Judicial District, Plaintiff discovered the



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1       NVJC had again disciplined Judge William S. Potter on September 30, 2019. {PE#55}
2    118.   On July 30, 2021, Plaintiff filed a formal complaint with the Nevada Judicial
3       Commission, against Judge William S. Potter, Hearing Master Wesley Yamashita, and the
4       Eighth Judicial District Court for violations of the NVJC using the NVJC cover form and an
5       independently constructed Statement of Facts: {PE#56}
6                                                 Canon 1
7           “A judge shall uphold and promote the independence, integrity, and impartiality of
8           the judiciary and shall avoid impropriety and the appearance of impropriety.”
9           Rule 1.1. Compliance With the Law: “A judge shall comply with the law, including the
10          Code of Judicial Conduct.”
11          Rule 1.2. Promoting Confidence in the Judiciary: “A judge shall act at all times in a
12          manner that promotes public confidence in the independence, integrity, and impartiality
13          of the judiciary and shall avoid impropriety and the appearance of impropriety.”
14   119.   On September 22, 2021, Plaintiff received a response from Dominika Batten, Associate

15      General Counsel, rejecting Plaintiff’s complaint because of an omission on the cover form.

16      However, Ms. Batten’s grounds for her administrative dismissal referenced a partial citation

17      section of Nevada law. {PE#57}

18   120.   On October 14, 2021, Plaintiff responded with the full citations of the Nevada Revised

19      Statues germane to the matter at issue. {PE#58}

20   121.   On December 13, 2021, Plaintiff received a reply from Ms. Batten. It did not address the

21      issues raised by Plaintiff’s October 14, 2021, response to Ms. Batten about Plaintiff’s original

22      complaint of July 30, 2021. {PE#59}

23                                    FIRST CLAIM FOR RELIEF

24                 Violation of Article IV §1 of the Constitution of the United States

25   Plaintiff, Richard Levon Caplan, In Propria Persona, does hereby allege as the First Claim for

26   Relief against All Defendants, including DOES 1 through 10, Violation(s) of Article IV §1 of the

27   Constitution of the United States, as follows:

28   122.   Plaintiff does hereby re-allege and incorporate herein by reference paragraphs 1 through



                  EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

                                     CAPLAN V. NEVADA COMPLAINT - 24
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1       121, inclusive, of this Complaint as though fully set forth herein.
2    123.   Plaintiff litigated before the Eighth Judicial District Court, Family Division, on appeal
3       before the Nevada Supreme Court and by their assignment the Nevada Court of Appeals,
4       arguing the documents claiming the estate of Azad Elizabeth Joseph, Plaintiff’s mother, filed
5       by Lenny Jorjorian and Marguerite Fox a.k.a. Margo Fox in the Eighth Judicial District,
6       Clark County, Nevada on September 5, 2017, having been executed and notarized in
7       California, , are subject to CA Civ. Codes §1185, §1189 and CA Gov. Code §8202 under
8       Article IV §1 the Full Faith & Credit Clause.
9    124.   California SB 1050 was signed into law by Governor Brown on August 15, 2014, with
10      the legislative intent after judicial review to reduce financial fraud by limiting abuse of
11      Notary Public Commissions issued by the California Secretary of State.
12   125.   These changes limited a Notary Public, commissioned by the California Secretary of
13      State, to verification of the identity of a signatory to a notarized document(s) bearing their
14      signature and seal and requiring the disclaimer stating a California Notary Public disavows

15      accuracy, validity and truthfulness of any statement contained in any document lawfully

16      notarized.

17   126.   CA Civ. Code §1185 limits the Notary Public commissioned by the California Secretary

18      of State to their single and exclusive role as a Notary Public of California on any

19      document(s) which bears their signature and seal. Participation in any other/additional role,

20      including acknowledgement of a sworn oath disqualifies the effect of the seal and signature

21      of the Notary Public which invalidates said document(s) as a legally notarized document by

22      the State of California.

23                                   SECOND CLAIM FOR RELIEF

24                   Violation of Article IV §2 of the Constitution of the United States

25   Plaintiff, Richard Levon Caplan, In Propria Persona, does hereby allege as the Second Claim for

26   Relief against All Defendants, including DOES 1 through 10, Violation(s) of Article IV §2 of the

27   Constitution of the United States, as follows:

28   127.   Plaintiff does hereby re-allege and incorporate herein by reference paragraphs 1 through



                  EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

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1       126, inclusive, of this Complaint as though fully set forth herein.
2    128.   The State of Nevada failed in their duties and responsibilities for a Protected Person
3       under Nevada and federal laws by having negligently denied Plaintiff’s right of recognition
4       as sole Issue of Azad Elizabeth Joseph since 2007 as would has been recognized by the
5       Federal Government, the State of California, and the several states.
6    129.   Plaintiff’s repeated attempts to litigate California sovereign laws governing the powers
7       and authorities of a Notary Public Commission granted by the California Secretary of State in
8       every Nevada judicial venue denied Plaintiff’s rights of equal justice under law. There is no
9       record of process due diligence nor proof of any submission of evidence of the actual
10      publication of notice of the probate hearing of the Azad Elizabeth Joseph estate as required
11      by Nevada and federal probate laws.
12   130.   Denial of Plaintiff’s Motion for IFP status by the Eighth Judicial District Court based on
13      a single technicality (left unaddressed on appeal by the Nevada Supreme Court) delayed the
14      process of Plaintiff’s appeal because of the Eighth Judicial District’s failure to follow rules of

15      procedure. The Nevada Supreme Court was required to issue orders to the Eighth Judicial

16      District Court to correct their procedural error(s) on two separate occasions represents a

17      duplicity of procedural and substantive due process, therefore an absence of equal justice

18      afforded Plaintiff by the state judiciary.

19                                    THIRD CLAIM FOR RELIEF

20             Violation of Article VI Clause 2 of the Constitution of the United States.

21   Plaintiff, Richard Levon Caplan, In Propria Persona, does hereby allege as the Third Claim for

22   Relief against All Defendants, including DOES 1 through 10, Violation(s) of Article VI Clause 2

23   of the Constitution of the United States, as follows:

24   131.   Plaintiff does hereby re-allege and incorporate herein by reference paragraphs 1 through

25      130, inclusive, of this Complaint as though fully set forth herein.

26   132.   The failures of the Nevada Supreme Court, Nevada Court of Appeals, and the Eighth

27      Judicial District, Family Division to recognize and address the Full Faith and Credit Clause

28      arguments filed by Plaintiff violated the Supremacy Clause of the Constitution of the United



                  EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

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1       States. There are no State interest’s superior to Plaintiff’s articulated and judicially justified
2       and defined Constitutional rights and privileges as a citizen of the United States. Failure to
3       recognize the full force and effect of the Supremacy Clause of the Constitution of the United
4       States is responsible for over four years of needless personal and judicial time, monies, and
5       emotional distress.
6                                   FOURTH CLAIM FOR RELIEF
7              Violation of Amendment XIV §1 of the Constitution of the United States
8    Plaintiff, Richard Levon Caplan, In Propria Persona, does hereby allege as the Fourth Claim for
9    Relief against All Defendants, including DOES 1 through 10, Violation(s) of Amendment XIV
10   §1 of the Constitution of the United States, as follows:
11   133.   Plaintiff does hereby re-allege and incorporate herein by reference paragraphs 1 through
12      132, inclusive, of this Complaint as though fully set forth herein.
13   134.   Plaintiff’s rights of Due Process were violated by the Defendant(s) by and through the
14      Eighth Judicial District Court, Family Division, Hearing Master Wesley Yamashita, Judge

15      William S. Potter, the Nevada Office of the Attorney General, the Nevada Court of Appeals,

16      the Nevada Supreme Court and the Nevada Judicial Commission:

17                                     In re: Case # P-17-092901-E:

18   135.   The State of Nevada negligently violated Article IV §1 by failing to recognize the

19      limitations of the duties and authorities of a California Notary Public ignoring the boxed

20      disclaimer included on the signature page, as required by California law, bearing the Seal of

21      the California Secretary of State of the notarized documents filed by Lenny Jorjorian and

22      Marguerite Fox a.k.a. Margo Fox on September 5, 2017, executed in California on August

23      30, 2017. The State of Nevada negligently converted disavowed hearsay statements by

24      admitting them as factual evidence in violation of CA Civ Code §1189 and thereby Article

25      IV §1 of the Constitution of the United States.

26   136.   Plaintiff alleges violation of Procedural Due Process as there is no entry in the probate

27      case record of the Azad Elizabeth Joseph estate of any demand by the Court(s) for proof of

28      Process Due Diligence related to the claims made by Lenny Jorjorian and/or Marguerite Fox



                  EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

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1       a.k.a. Margo Fox of succession. Instead, the court accepted hearsay as fact, despite the
2       disclaimers of verified proof of fact on the page bearing the seal of the Notary Public
3       Commission issued by the California Secretary of State.
4    137.   Failure to recuse by Judge William S. Potter under Nevada Rules of Judicial Conduct,
5       Canon 1, Rule 1.1: “a judge must be impartial and have the appearance of impartiality.”
6       resulted in prejudice against Plaintiff. Judge William S. Potter was unfair and prejudiced
7       against Plaintiff for presiding over the Petition to Reopen Probate having presided over the
8       guardianship case of Azad Elizabeth Joseph during which he had prior knowledge of Lenny
9       Jorjorian on or before March 29, 2017, as later evidenced by Judge William S. Potter
10      releasing the personal effects of Azad Elizabeth Joseph, a Protected Person, Plaintiff’s
11      mother, after her death on July 17, 2017, to Lenny Jorjorian while determination of
12      succession remained pending under Nevada probate law.
13   138.   On October 25, 2017, the orders by Judge William S. Potter, in the guardianship case of
14      Azad Elizabeth Joseph, Plaintiff’s mother, were recorded prior to his forced removal from

15      the bench for two months without pay by the Nevada Judicial Commission on November 22,

16      2017. Judge William S. Potter behaved as though the representations of the counsel for the

17      guardian had a predestinating effect about Lenny Jorjorian and Ara Jorjorian as entitled

18      descendants. The guardian, Susan Hoy, represented by counsel, Kimberly Boyer, swore

19      under penalty of lying under oath that Azad Elizabeth Joseph, the Plaintiff’s mother, had no

20      descendants.

21   139.   Judge William S. Potter returned to the bench on or about January 25, 2018. Judge

22      William S. Potter was assigned to Plaintiff’s Motion to Reopen Probate of the Azad

23      Elizabeth Joseph Estate case on or before June 1, 2018.

24   140.   On August 1, 2018, Judge William S. acknowledged in open court Plaintiff is the Issue

25      (child) of Azad Elizabeth Joseph.

26   141.   Multiple demands from the Clerk of the Nevada Supreme Court to Judge William S.

27      Potter and the Eighth Judicial District Court Clerk to properly file Order(s) on Plaintiff’s

28      repeated Petitions for In Forma Pauperis status represents violations of Procedural Due



                 EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

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1       Process.
2    142.     The Eighth Judicial District Court’s repeated administrative denials of Plaintiff’s Motions
3       for IFP status which held accurate information about Plaintiff’s financial situation and the
4       Nevada Supreme Court’s failure to address Plaintiff’s arguments on appeal from the District
5       Court presumes Process is superior to decided US Constitutional law:
6    143.     “In those situations, in which the State has monopolized the avenues of settlement of
7       disputes between persons by prescribing judicial resolution, and where the dispute involves
8       such a fundamental interest as marriage and its dissolution, no State may deny to those
9       persons unable to pay its fees access to those judicial avenues.” (Boddie v. Connecticut, 401
10      U.S. 371 (1971)
11                                      In re: Case # G-07-031431-A:
12   144.     Plaintiff argues equality of standing for assumption of the Constitutional Rights of a
13      citizen of the United States by the State of Nevada, exercised absent proof of succession,
14      creates a violation of Procedural Due Process against a Protected Person and their Issue(s).

15   145.     The State of Nevada failed its obligations to protect Azad Elizabeth and her Issue(s) with

16      whom it has a "special relationship," such as a custodial relationship that cuts off alternative

17      avenues of aid. (Monfils v. Taylor, 165 F.3d 511, 516 (7th Cir.1998))

18                                     FIFTH CLAIM FOR RELIEF

19          Violation of 42 USC §1981(a) of the Equal Benefit Clause by Nevada State Actor(s)

20   Plaintiff, Richard Levon Caplan, In Propria Persona, does hereby allege as the Fifth Claim for

21   Relief against All Defendants, including DOES 1 through 10, Violation(s) of 42 USC §1981(a)

22   of the Equal Benefit Clause by Nevada State Actor(s), as follows:

23   146.     Plaintiff does hereby re-allege and incorporate herein by reference paragraphs 1 through

24      145, inclusive, of this Complaint as though fully set forth herein.

25   147.     The Eighth Judicial District Court waived the Cost Bond requirement for the Petition for

26      General Administration Lenny Jorjorian, but continuous rejection of Plaintiff’s Petition for

27      IFP Status combined with the failure of the Nevada Supreme Court to address the defects in

28      the form used by the Eighth Judicial District Court considering Judge William S. Potter’s



                   EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

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1       recognition of Plaintiff as the rightful heir on August 1, 2018 represents the absence of
2       equality favoring the fraudulent claim versus the lawfully entitled Petition to Reopen Probate
3       of the estate of Azad Elizabeth Joseph filed by Plaintiff. The State of Nevada has shown
4       discrimination against Plaintiff for In Propria Persona representation. Plaintiff has been
5       unjustifiably penalized by the Nevada Supreme Court due to the non-hierarchal structure of
6       the state’s judicial system. Rather than addressing the merits of Plaintiff’s IFP Petition and
7       Plaintiff’s claim of improper, misleading use of category label(s) on the forms named by the
8       Eighth Judicial District Court, the Supreme Court relied on the decision and practice of the
9       District Court, where preponderance of the record shows probable cause of prejudice against
10      Plaintiff’s rights existed.
11                                     SIXTH CLAIM FOR RELIEF
12    Violation of 42 USC § 1983 Civil Rights of Richard Levon Caplan [and Plaintiff’s mother
13                 Azad Elizabeth Joseph (DECEASED)] by Nevada State Actor(s)
14   Plaintiff, Richard Levon Caplan, In Propria Persona, does hereby allege as the Sixth Claim for

15   Relief against All Defendants, including DOES 1 through 10, Violation(s) of 42 USC § 1983

16   Civil Rights of Richard Levon Caplan [and Plaintiff’s mother Azad Elizabeth Joseph

17   (DECEASED)] by Nevada State Actor(s), as follows:

18   148.   Plaintiff does hereby re-allege and incorporate herein by reference paragraphs 1 through

19      147, inclusive, of this Complaint as though fully set forth herein.

20   149.   The guardianship record of Azad Elizabeth Joseph, Plaintiff’s mother, is absent proof of

21      Process Due Diligence; discovery of Succession by degrees of consanguinity; violations of

22      the Civil Rights of Azad Elizabeth Joseph and Plaintiff under federal and Nevada state law.

23      The negligence and continuing failures by the State of Nevada to recognize and acknowledge

24      superior Constitutional and federal laws argued by Plaintiff on behalf of personal knowledge

25      of Azad Elizabeth Joseph beyond all other representation(s) made to the court by lawfully

26      unqualified parties were and remain prejudicial acts representing the origin of the nexus of

27      violations alleged in this complaint.

28                                    SEVENTH CLAIM FOR RELIEF



                 EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

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1                                     (DECLARATORY RELIEF)
2    Plaintiff, Richard Levon Caplan, In Propria Persona, does hereby allege as the Seventh Claim for
3    Relief against All Defendants, including DOES 1 through 10, Declaratory Relief as follows:
4    150.   Plaintiff does hereby re-allege and incorporate herein by reference paragraphs 1 through
5       149, inclusive, of this Complaint as though fully set forth herein.
6    151.   As set forth herein, Defendant(s) negligently assumed a custodial relationship of Azad
7       Elizabeth Joseph, a Protected Person by their failure of duty to demand procedural due
8       diligence establishing consanguinity, which would have established the existence of Plaintiff
9       and first cousin, daughter of Levon Joseph, Victoria Ratcliff, thereby having effectively cut
10      off alternative avenues of aid.
11   152.   Defendant(s) repeatedly ignored valid arguments and points of law on State Sovereignty
12      and the Supremacy Clause of the Constitution of the United States. Defendant(s) acted
13      unaware of the clearly marked disclaimer required for lawfully executed notarized
14      documents executed in the state of California by a Notary Public commissioned by the

15      California Secretary of State under CA Civ Code §1189.

16   153.   Defendant(s) failed to appoint a Personal Representative in accordance with a District

17      Court order on behalf of the estate of Azad Elizabeth Joseph, Plaintiff’s mother, due to a lack

18      of regard for the Civil Rights of Azad Elizabeth Joseph and through their negligence the

19      rights of her only child.

20   154.   Based on the foregoing, an actual controversy has arisen and now exists between Plaintiff

21      and Defendant(s) concerning their respective rights and duties with respect to a lawful claim

22      for the estate of Azad Elizabeth Joseph and the lawful assumption of guardianship by the

23      State of Nevada.

24   155.   Accordingly, among the other forms of relief sought herein, Plaintiff seeks a judicial

25      determination of rights and duties, including a declaration that:

26              a. Defendant(s)’ conduct by repeatedly ignoring Article IV §1 as decided law

27                 violated the Supremacy Clause of the Constitution of the United States.

28              b. Defendant(s)’ failure to demand proof of consanguinity prior to consideration



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1                  and/or assumption of the civil rights of a citizen of the United States under state
2                  guardianship violated Process Due Diligence, Procedural Due Process,
3                  Substantive Due Process, 42 USC 1983, Amendment XIV §1 and federal juris
4                  prudence
5    156.   A judicial declaration is necessary and appropriate at this time under the circumstances in
6       order that Plaintiff may lawfully be recognized as the Issue of the second degree of
7       consanguinity of Azad Elizabeth Joseph in accordance with the Nevada law of Succession
8       and to prevent other existing and future violations of the Full Faith and Credit Clause by
9       Defendants against California and the several states.
10                                        REQUEST FOR RELIEF
11           Wherefore, Plaintiff Richard Levon Caplan now prays for judgment as follows:
12          On the First Claim for Relief for VIOLATION OF ARTICLE IV §1 against All
13   Defendants, including DOES 1 through 10:
14             1. For An Order:

15                     a. The Court assumes jurisdiction of all matters raised in this complaint

16                          related to the probate of the Azad Elizabeth Joseph estate;

17                     b.   Causing all judgements and orders related to the probate of the Azad

18                          Elizabeth Joseph estate by the Eighth Judicial District, Family Division,

19                          Clark County, Nevada, the Supreme Court of Nevada and the Nevada

20                          Court of Appeals declared to be unlawful and that they be vacated as

21                          argued herein;

22             2. For actual, compensatory, punitive and/or incidental damages in an amount to be

23                 determined at trial;

24             3. For restitution;

25             4. For prejudgment interest in an amount to be determined at the time of trial;

26             5. For future attorneys’ fees and costs;

27             6. For costs of suit herein incurred;

28             7. For such other and further relief as this Court deems proper.



                 EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

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1          On the Second Claim for Relief for VIOLATION OF ARTICLE IV §2 against All
2    Defendants, including DOES 1 through 10:
3              1. For An Order:
4                     a. This Court has jurisdiction of all matters raised in this complaint related to
5                         the assumption of the federally guaranteed rights and privileges of
6                         Plaintiff by the Eighth Judicial District Court ordered state guardianship of
7                         Azad Elizabeth Joseph by Defendant(s);
8                     b. To direct the United States Attorney to investigate/prosecute offenders of
9                         the Nevada Guardianship case # G-07-031431-A of Azad Elizabeth
10                        Joseph and Nevada Probate case # P-17-092901-E of the Azad Elizabeth
11                        Joseph Estate based on the details in this complaint and the Investigative
12                        Report.
13             2. For actual, compensatory, punitive and/or incidental damages in an amount to be
14                determined at trial;

15             3. For restitution;

16             4. For prejudgment interest in an amount to be determined at the time of trial;

17             3. For future attorneys’ fees and costs;

18             4. For costs of suit herein incurred;

19             5. For such other and further relief as this Court deems proper.

20         On the Third Claim for Relief for VIOLATION OF ARTICLE VI CLAUSE 2

21   against All Defendants, including DOES 1 through 10:

22             1. For actual, compensatory, punitive and/or incidental damages in an amount to be

23                determined at trial;
24
               2. For restitution;
25
               3. For prejudgment interest in an amount to be determined at the time of trial;
26
               4. For future attorneys’ fees and costs;
27
               5. For costs of suit herein incurred;
28
               6. For such other and further relief as this Court deems proper.

                EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

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1          On the Fourth Claim for Relief for VIOLATION OF AMENDMENT XIV §1
2    against All Defendants, including DOES 1 through 10:
3                                     In re: Case # P-17-092901-E:
4              1. For actual, compensatory, punitive, and/or incidental damages in an amount to be
5                 determined at trial;
6              2. For restitution;
7              3. For injunctive relief, as appropriate;
8              4. For prejudgment interest in an amount to be determined at the time of trial;
9              5. For future attorneys’ fees and costs;
10             6. For costs of suit herein incurred;
11             7. For such other and further relief as this Court deems proper.
12                                    In re: Case # G-07-031431-A:
13             1. For actual, compensatory, punitive, and/or incidental damages in an amount to be
14                determined at trial;

15             2. For restitution;

16             3. For injunctive relief, as appropriate;

17             4. For future attorneys’ fees and costs;

18             5. For costs of suit herein incurred;

19             6. For such other and further relief as this Court deems proper.

20         On the Fifth Claim for Relief for VIOLATION OF 42 USC §1981(a) against All

21   Defendants, including DOES 1 through 10:

22             1. For actual, compensatory, punitive and/or incidental damages in an amount to be

23                determined at trial;

24             2. For restitution;

25             3. For future attorneys’ fees and costs;

26             4. For costs of suit herein incurred;
27
               5. For such other and further relief as this Court deems proper.
28



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1          On the Sixth Claim for Relief for VIOLATION OF 42 USC §1983 against All
2    Defendants, including DOES 1 through 10:
3             1. For actual, compensatory, punitive and/or incidental damages in an amount to be
4                 determined at trial;
5             2. For restitution;
6             3. For future attorneys’ fees and costs;
7             4. For costs of suit herein incurred;
8             5. For such other and further relief as this Court deems proper.
9          On the Seventh Claim for Relief for DECLARATORY against All Defendants,
10   including DOES 1 through 10:
11            1. For an order causing all judgements and orders related to the probate of the Azad
12                Elizabeth Joseph estate by the Eighth Judicial District, Family Division, Clark
13                County, Nevada, the Supreme Court of Nevada, and the Nevada Court of Appeals
14                declared to be unlawful and that they be vacated , relating to the issues specified

15                herein, including as set forth under paragraph 156 hereof;

16            2. For future attorneys’ fees and costs;

17            3. For costs of suit herein incurred;

18            4. For such other and further relief as this Court deems proper.

19                                       Demand for Jury Trial

20                      Plaintiffs demand a trial by jury on all issues so triable.

21

22   DATED: November 30, 2022                            Respectfully Submitted,
23                                                       IN PROPIA
                                                              OPIA PERSONA
24                                                       By:_____________________________
                                                              _________________
                                                               Richard Levon Caplan
                                                                             Cap
25

26                                                       PLAINTIFF

27

28



                EXHIBITS DENOTED BY {PE#__} IN SUPERSCRIPT ARE ATTACHED TO THIS COMPLAINT

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                              CAPLAN v STATE OF NEVADA
                            PLAINTIFF’S LIST OF EXHIBITS
                                            CASE #
    Complaint Notation                   Exhibit Description                    Source
          PE#1                  Richard L. Caplan Birth Certificate              Copy
          PE#2                    Richard L. Caplan CDL/Real ID                  Copy
          PE#3              Azad E. Joseph/Russell B. Caplan Divorce             Copy
                                                 Decree
          PE#4              Jorjorian/Fox Documents Filed 09/14/2017           Filed Copy
          PE#5              Azad Elizabeth Joseph Guardianship Case            Filed Copy
                                                 Cover
          PE#6                 Azad E. Joseph - Been Verified 2014                Copy
          PE#7                         Authorization of Drizin                    Copy
          PE#8            Close of probate of the Azad Elizabeth Joseph        Copy Court
                                                 estate                         Minutes
          PE#9               Filed Motion to Reopen Probate of Azad            Filed Copy
                             Elizabeth Joseph estate by Richard Levon
                               Caplan Eighth Judicial District Court
          PE#10             May 22, 2018 letter from Mr. Payne to Mr.            Copy
                                                 Drizin
          PE#11                 Margarette Fox Certificate of Death            Filed Copy
          PE#12             September 29, 2017 Hearing on Probate of           Filed Copy
                                    Azad Elizabeth Joseph estate
          PE#13           May 25, 2018 Hearing on Petition to Reopen           Filed Copy
                                      Probate Demand for Judge
          PE#14             Email from Mr. Drizin. Hearing set before            Copy
                                              Judge Voy.
          PE#15          Email from Mr. Berman summarizing outcome               Copy
                              of August 1, 2018 hearing before Judge
                                           William S. Potter.
          PE#16            Amended Petition - Notice of Hearing 8-28-          Filed Copy
                          2018 regarding Petition to Reopen Probate of
                           the Azad Elizabeth Joseph estate by Richard
                                             Levon Caplan
          PE#17               Payne opposition to Amended Petition             Filed Copy
          PE#18                   Keskeys/Joseph Divorce Decree
          PE#19           Orders by Judge William S. Potter on August          Filed Copy
                                               14, 2018
          PE#20          Payne/Jorjorian fail to identify Victoria Ratcliff    Filed Copy
          PE#21              Plaintiff filed for Appeal October 2, 2018           Copy
          PE#22          Plaintiff filed for IFP status with Eighth Judicial   Filed Copy
                                   District sent October 13, 2018



                                     LIST OF EXHIBITS
                                 CAPLAN v NEVADA - Page 1 of 3
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         PE#23        Letter to NVSC regarding absence of response          Filed Copy
                       by Eighth Judicial District filed November 14,
                                              2018
         PE#24         Email exchange with Clerk of Department Q,             Copy
                                   Eighth Judicial District
         PE#25        Demand for IFP resubmission sent 12/12/2018.             Image
         PE#26             Affidavit & Financial Disclosure Form            Filed Copy
                        submitted October 13, 2018 w/ multiple filed
                           date stamps by Eighth Judicial District
         PE#27           Order by NVSC to Eighth Judicial District          Filed Copy
                        Court for failure to file order re: Plaintiff IFP
                                            petition
         PE#28            Opposition filed by Payne with NVSC to            Filed Copy
                              Plaintiff’s petition for IFP status
         PE#29           Eighth Judicial District Dept. M Law Clerk           Copy
                      directed resubmission of Plaintiff’s IFP Petition
         PE#30                 USPS tracking data 12/27/2018                   Copy
         PE#31           Denial of Plaintiff’s IFP Petition by Judge        Filed Copy
                                William S. Potter 12/31/2018
         PE#32           Denial of Plaintiff’s IFP Petition by Judge        Filed Copy
                                William S. Potter 01/08/2019
         PE#33              Denial 12-31-18 filed by NVSC clerk             Filed Copy
                                          01/03/2019
         PE#34                NVSC 30-day order - 19-01716                  Filed Copy
         PE#35                Motion to set aside denial of IFP             Filed Copy
         PE#36                       NVSC denial of IFP                     Filed Copy
         PE#37                  Payne demand for Cost Bond                  Filed Copy
         PE#38              Opposition to motion for Cost Bond              Filed Copy
         PE#39             NVSC waiver denied seek EJDC first               Filed Copy
         PE#40        Payne opposition to EJDC waiver of Cost Bond          Filed Copy
         PE#41          Motion to waive Cost Bond due to failure of         Filed Copy
                                   timely ruling by EJDC
         PE#42             NVSC 2nd demand for orders by EJDC               Filed Copy
         PE#43                   EJDC reply to NVSC order                   Filed Copy
         PE#44          Matter of William S. Potter, Certified Copy         Filed Copy
         PE#45                      CA SB1050 CHP197                           Copy
         PE#46                    NVSC 9-11-2019 motions                    Filed Copy
         PE#47           NVSC Payne opposition waiver cost bond             Filed Copy
         PE#48               NVSC denial of 9-11-2019 motions               Filed Copy
         PE#49              Writ of Mandamus filed with NVSC                Filed Copy
         PE#50                  Writ transferred to NV COA                     Copy
         PE#51                     NVCOA denial of Writ                     Filed Copy
         PE#52                   NVSC dismissal of appeal                   Filed Copy
         PE#53           Request review of COA decision by NVSC             Filed Copy
         PE#54                  NVSC denial of COA review


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         PE#58          LTR to Dominika Batten NVJC 10-14-2021          Copy
         PE#59                 Reply from NVJC 12-13-21                 Copy




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Probate - General                    COURT MINUTES                        February 23, 2018
Administration

P-17-092901-E           In the matter of:
                        Azad Joseph, Deceased

February 23, 2018      9:30 AM             Petition - HM

HEARD BY:       Yamashita, Wesley                              COURTROOM: RJC Courtroom 15C


COURT CLERK:         Sharon Chun

PARTIES:
 Azad Joseph, Decedent, not present
 Cynthia Reed, Petitioner, Administrator, not         Pro Se
 present
 Jeff Elrod, Objector, not present                    Pro Se
 Lenny Jorjorian, Petitioner, Administrator, not      Cary Payne, Attorney, not present
 present                                                       1(,7+(5$:$5(12535(6(17
 Richard Caplan, Objector, not present                Pro Se )25$1<7+,1*5(/$7('727+,6
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                                           JOURNAL ENTRIES


- Matter being on Approved List and there being no objection, COMMISSIONER RECOMMENDED,
Petition APPROVED and GRANTED; CASE CLOSED.


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Notice: Journal entries are prepared by the courtroom clerk and are not the official record of the Court.
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Case 2:22-cv-08759-JWH-MRW Document    PE#10
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                                EXHIBIT PE#11
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                                       1 Filed 12/01/22 Page 91 of 174 Page ID #:91
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                                                                                Hollywood Born <rlcaplan@gmail.com>



Your Memo of July 26, 2018
lee@leedrizin.com <lee@leedrizin.com>                                                        Thu, Jan 17, 2019 at 1:32 PM
To: rlcaplan@gmail.com


 The maƩer was iniƟally heard by the Probate Commissioner – Wes Yamashita. However, aŌer Cary Payne Įled a
 request for the maƩer to be heard by a Probate Judge, it was assigned to Bill Voy, who is one of three judges that
 hear probate maƩers.
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   Case 2:22-cv-08759-JWH-MRW Document    PE#15
                                       1 Filed 12/01/22 Page 92 of 174 Page ID #:92
                                CAPLAN v NEVADA

                                                                                     Hollywood Born <rlcaplan@gmail.com>



Joseph estate
Les Berman <lesberman@leedrizin.com>                                                               Wed, Aug 1, 2018 at 4:25 PM
To: rlcaplan@gmail.com


 Mr. Caplan,

 As I predicted, the Court put everything off until the 14th. The bad news is that the judge has serious questions about the
 jurisdiction of the court over the estate and the Jojorians since the estate has been distributed and the distributes are out
 of the jurisdiction. Clearly, under the statute, there is personal jurisdiction over Lenny Jojorian as the administrator. But
 since the estate remains closed, until it is reopened, the jurisdictional question remains. The good news is that the judge
 also believes, based upon the documentation submitted, that a prima facie case has been made that you are the
 decedent’s heir.

 Therefore, we will continue to research the jurisdictional issue and find authority which will hopefully influence the judge.

 I am aware of the other factual issues raised in your email. Since the Jojorians are not yet appearing and giving
 testimony, we will potentially raise that issue (their employment) when and if they testify.



 Les Berman



                Proudly Serving the Southern Nevada Community Since 1994




 Lester A. Berman, Esq.


 Law Offices of Lee A. Drizin, Chtd.

 2460 Professional Court, Suite 110 | Las Vegas, NV 89128

 P: 702.798.4955 | F: 702.798.5955



 www.DrizinLaw.com | lesberman@leedrizin.com




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                           PRIVILEGE AND CONFIDENTIALITY NOTICE

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                                                                                 Clerk of Supreme Court
  Richard Levon Caplan
  Opponent




                                     Richard Levon Caplan
                                                                by Judge
                                                                      g Potter
          12           September      18 Notice was sent September 14, 2018.



                                                                PO Box 5561 Chatsworth, CA 91313




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                                    1 Filed 12/01/22 Page 125 of 174 Page ID #:125
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                                         PE#23
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  Case 2:22-cv-08759-JWH-MRW Document      PE#24
                                      1 Filed 12/01/22 Page 138 of 174 Page ID #:138
                                CAPLAN v NEVADA

                                                                                  Hollywood Born <rlcaplan@gmail.com>



Fee Waiver Application
3 messages

Duru, Nichole <DeptQLC@clarkcountycourts.us>                                                    Tue, Dec 4, 2018 at 9:17 AM
To: "rlcaplan@gmail.com" <rlcaplan@gmail.com>


 Hello Mr. Caplan,



 I am in receipt of your voicemail message. Are you referring to a fee waiver application submitted for case number P-17-
 092901-E which is a probate matter assigned to Judge Potter’s department (Department M)?



 If so, you’ll want to speak with the Department M staff as case P-17-092901-E is showing that the request for a fee waiver
 was reviewed by Department M. The Department M law clerk can be reached at 702-671-3552. The Department M
 judicial executive assistant can be reached at 702-671-3553.




 Regards,



 Nichole J. Duru, Esq.

 Law Clerk to the Honorable Bryce C. Duckworth

 Eighth Judicial District Court of Nevada

 Family Division - Department Q

 601 N. Pecos Rd.

 Las Vegas, NV 89101

 (702) 455-1346 PHONE

 (702) 455-1946 FAX




rlcaplan <rlcaplan@gmail.com>                                                                  Wed, Dec 5, 2018 at 1:03 AM
To: DeptQLC@clarkcountycourts.us

 Nicole;

 Thank you for the courtesy of your reply.

 I contacted you because I was informed by the Clark County clerk's office the first week of November of this year the the
 sworn In Forma Pauperis petition and financial disclosure forms I filed in in mid-October, referencing the aforementioned
 case number in Dept M, was sent to Dept Q on October 30, 2018 for approval.

 I called the clerk's phone number I was given for Dept Q; heard the message with the alternate phone number to call for
 status four weeks after the case was sent to Dept Q, which I exceed by a few days, as the voicemail I left yesterday was
                                                  EXHIBIT PE#24
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 Case 2:22-cv-08759-JWH-MRW Document       EXHIBIT  PE#24
                                               1 Filed 12/01/22 Page 139 of 174 Page ID #:139
 my first attempt to check on the status. CAPLAN v NEVADA

 I was asked by the clerk of the Supreme Court of Nevada to send them a copy of the In Forma Pauperis documents I filed
 with the Clark County clerk's office via certified mail who acknowledged them as received on October 17, 2018 so my
 pending appeal would not be dismissed for lack of fee and/or lack of response on my In Forma Pauperis petition. I
 complied with their request about a month ago.

 Sincerely,

 Richard Caplan
 (818) 564-7270




             Sender notified by
             Mailtrack
 [Quoted text hidden]



Duru, Nichole <DeptQLC@clarkcountycourts.us>                                               Wed, Dec 5, 2018 at 11:19 AM
To: rlcaplan <rlcaplan@gmail.com>


 Hello Mr. Caplan,



 As we discussed during our phone conversaƟon, you’ll want to inquire with Department M as to why the request for a
 fee waiver was not granted. Upon my review of case P-17-092901-E, it appears that your Order to Proceed in Forma
 Pauperis was not approved on or around 11/7/18 and that the Order (and accompanying documents) were returned
 to you by mail on 11/8/18.



 The Department M law clerk can be reached at 702-671-3552. The Department M judicial execuƟve assistant can be
 reached at 702-671-3553.



 From: rlcaplan [mailto:rlcaplan@gmail.com]
 Sent: Wednesday, December 5, 2018 1:03 AM
 To: Duru, Nichole
 Subject: Re: Fee Waiver Application




 Nicole;



 Thank you for the courtesy of your reply.



                                                EXHIBIT PE#24
                                               CAPLAN v NEVADA
 Case 2:22-cv-08759-JWH-MRW Document             EXHIBIT
                                                      1 FiledPE#2412/01/22 Page 140 of 174 Page ID #:140
                                              CAPLAN      v NEVADA
I contacted you because I was informed by the Clark County clerk's office the first week of November of this year the the
sworn In Forma Pauperis petition and financial disclosure forms I filed in in mid-October, referencing the aforementioned
case number in Dept M, was sent to Dept Q on October 30, 2018 for approval.



I called the clerk's phone number I was given for Dept Q; heard the message with the alternate phone number to call for
status four weeks after the case was sent to Dept Q, which I exceed by a few days, as the voicemail I left yesterday was
my first attempt to check on the status.



I was asked by the clerk of the Supreme Court of Nevada to send them a copy of the In Forma Pauperis documents I filed
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pending appeal would not be dismissed for lack of fee and/or lack of response on my In Forma Pauperis petition. I
complied with their request about a month ago.



Sincerely,



Richard Caplan

(818) 564-7270




             Sender notified by
             Mailtrack 12/05/18, 1:00:32 AM




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                                    1 Filed 12/01/22 Page 143 of 174 Page ID #:143
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